Case 2:24-cv-12834-JJCG-KGA ECF No. 23, PageID.50 Filed 03/13/25 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

____________________________________
                                    )
VALERIA BERRY,                      )
                                    )
               Plaintiff,           )
                                    )
     v.                             )
                                    )                Case No. 2:24-cv-12834
OFFICE OF REPRESENTATIVE            )                Hon. Jonathan J.C. Grey
SHRI THANEDAR                       )
                                    )
               Defendant.           )
____________________________________)


                          NOTICE OF APPEARANCE

      PLEASE TAKE NOTICE THAT, Kimberly C. Williams, Senior Associate

Counsel, Office of House Employment Counsel (OHEC), U.S. House of

Representatives, 4300 O’Neill House Office Building, Washington, D.C. 20515,

hereby enters her appearance as counsel for Defendant, the Office of

Representative Shri Thanedar, in the above-referenced matter pursuant to LR

83.20(g) and 2 U.S.C. § 1408(d). OHEC designates Zak Toomey, Chief, Civil

Defensive Litigation, United States Attorney’s Office, Eastern District of

Michigan, to receive service of all notices and papers on its behalf in this matter.
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The contact information for service is:

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                                          Respectfully submitted,

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                                              (202) 225-7075

DATED:       March 13, 2025
